                                      u ORIGINAL                                              08/26/2024



              IN THE SUPREME COURT OF THE STATE OF MONTANA                                Case Number: DA 24-0334


                                           24-0334



DERIK L. SEYMOUR,

             Plaintiff and Appellant,                             ORDER

      v.

STATE OF MONTANA,

             Defendant and Appellee.


      This Court reviews briefs to ensure compliance with Rules 10, 11, and 12 of the
Montana Rules of Appellate Procedure. After reviewing the Appellant Dirk Seymour's
opening brief filed on August 26, 2024, this Court has determined that the brief does not
comply with the Rules and must be resubmitted.

        M. R. App. P. 10(4) requires a certificate of service in the form of a statement of the
date and manner of service and of the names and addresses of the persons served, and it
must be certified by the person who made the service. Appellant's certificate of service
certifies the brief was served on Thomas J. Leonard, but it was not served on Matthew B.
Hayhurst or Austin Miles Knudsen. The brief and all future papers that are filed need to
be served on all counsel of record.

       Further, M. R. App. P. 11(4)(e) requires that a certification of compliance be filed
with the brief. The certificate should state the line spacing, that the brief is proportionately
spaced, together with the typeface, point size, and word count. The certificate is not
included in calculating the word count.

       Therefore,

       IT IS ORDERED Appellant's opening brief is rejected.

       IT IS FURTHER ORDERED that within twenty (20) days of the date of this Order
the Appellant shall file with the Clerk of this Court a revised brief containing the revisions
necessary to comply with the specified Rules and that the Appellant shall serve copies of
the revised brief on all parties of record;
       IT IS FURTHER ORDERED that no changes, additions, or deletions other than
those specified in this Order may be made to the brief as originally filed;
       IT IS FURTHER ORDERED that the signed original of Appellant's brief be
returned for revisions necessary to comply with the specified Rules; and
       IT IS FURTHER ORDERED that the times for any subsequent briefing contained
in M. R. App. P. 13 shall run from the date of filing of the revised brief.
        The Clerk of this Court is directed to mail a true copy of this Order to Appellant and
to all parties of record.
       DATED this 26th, day of August, 2024.

                                                  For the Court,

                FILED
                                                  By
                 AUG 2 6 2024
               Bowen Greenwood                                   Justice
             Clerk of Supreme Court
                State of Montana
